   Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 1 of 39. PageID #: 165




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



MILLENNIA HOUSING MANAGEMENT,
et al.,

           Plaintiffs,                  Case No. 1:24-cv-02084

     v.                                 District Judge Bridget Meehan Brennan

UNITED STATES DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT,
et al.,

           Defendants.



  DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A
               PRELIMINARY INJUNCTION
                                        Respectfully submitted,

                                        BRIAN M. BOYNTON
                                        Principal Deputy Assistant Attorney General

                                        CHRISTOPHER R. HALL
                                        Assistant Branch Director

                                        /s/ Pardis Gheibi
                                        PARDIS GHEIBI (D.C. Bar No. 90004767)
                                        Trial Attorney; U.S. Department of Justice
                                        Civil Division, Federal Programs Branch
                                        1100 L Street, N.W.
                                        Washington, D.C. 20005
                                        Tel.: (202) 305-3246
                                        Email: pardis.gheibi@usdoj.gov
                                        Counsel for Defendants
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 2 of 39. PageID #: 166




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 3

I.        STATUTORY AND REGULATORY SCHEME .............................................................. 3

II.       ENACTMENT OF SECTION 537 ..................................................................................... 5

III.      ADMINISTRATIVE ENFORCEMENT ............................................................................ 7

IV.       RELEVANT FACTS AND PROCEDURAL HISTORY .................................................. 8

ARGUMENT ................................................................................................................................ 10

I.        PLAINTIFFS ARE NOT LIKELY TO SUCCEED ON THE MERITS. ......................... 11

          A.        Plaintiffs are not likely to show that the Court has subject-matter
                     jurisdiction over their Seventh Amendment claim. .............................................. 11

                     i.         First Thunder Basin factor ........................................................................ 12

                     ii.        Second Thunder Basin factor .................................................................... 13

                     iii.       Third Thunder Basin factor....................................................................... 13

          B.        Plaintiffs are not likely to succeed on the merits of their claims. .......................... 14

                     i.         Plaintiffs have waived their Seventh Amendment and Article III
                                claims. ....................................................................................................... 14

                     ii.        HUD’s claims are not subject to Article III or the Seventh
                                Amendment under Jarkesy. ...................................................................... 19

                                a.         The claims fall under the public-rights exception......................... 19

                                b.         Under Jarkesy, the Seventh Amendment does not apply
                                           where, as here, the suit is equitable............................................... 23

                                           1.         The remedies provided by Section 573 are
                                                      equitable. ........................................................................... 24

                                           2.         Causes of action under Section 573 are not found in
                                                      common law. ..................................................................... 25




                                                                      -i-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 3 of 39. PageID #: 167




II.       PLAINTIFFS FAIL TO DEMONSTRATE IRREPARABLE HARM. ........................... 27

III.      THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH AGAINST
          INJUNCTIVE RELIEF. .................................................................................................... 28

CONCLUSION ............................................................................................................................. 30




                                                                   -ii-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 4 of 39. PageID #: 168




                                                TABLE OF AUTHORITIES

CASES

Allied Erecting & Dismantling Co. v. Genesis Equip. & Mfg., Inc.,
   511 F. App’x 398 (6th Cir. 2013) ............................................................................................ 27

Alpine Secs. Corp. v. Nat’l Secs. Clearing Corp.,
   Case No. 2:23-cv-00782, 2024 WL 1011863 (D. Utah Mar. 8, 2024),
   appeal filed, No. 24-4027 (10th Cir. Mar. 8, 2024) ................................................................. 14

Atlas Roofing Co., Inc. v. Occupational Safety & Health Rev. Comm’n,
   430 U.S. 442 (1977) ........................................................................................................... 19, 20

Axon Enter., Inc. v. Fed. Trade Comm’n,
  598 U.S. 175 (2023) ............................................................................................... 11, 12, 13, 28

Blankenship v. Fin. Indus. Regul. Auth.,
   Civ. A. No. 24-3003, 2024 WL 4043442 (E.D. Pa. Sept. 4, 2024) .............................. 11, 12, 13

Carter v. Toyota Tsusho Am., Inc.,
  529 F. App’x 601 (6th Cir. 2013) ............................................................................................ 10

Chau v. United States,
  72 F. Supp. 3d 417 (S.D.N.Y. 2014), aff’d, 665 F. App’x 67 (2d Cir. 2016) .......................... 14

Commodity Futures Trading Comm’n v. Schor,
  478 U.S. 833 (1986) ................................................................................................................. 15

D.T. v. Sumner Cnty. Schs.,
  942 F.3d 324 (6th Cir. 2019) .............................................................................................. 27, 28

In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig.,
   756 F.3d 917 (6th Cir. 2014) .................................................................................................... 10

Elgin v. Dep’t of Treasury,
   567 U.S. 1 (2012) ..................................................................................................................... 13

Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,
  561 U.S. 477 (2010) ........................................................................................................... 11, 12

Friendship Materials, Inc. v. Mich. Brick, Inc.,
   679 F.2d 100 (6th Cir. 1982) .................................................................................................... 27

Geldermann, Inc. v. Commodity Futures Trading Commission,
  836 F.2d 310 (7th Cir. 1987) .................................................................................................... 17

Granfinanciera, S.A. v. Nordberg,
  492 U.S. 33 (1989) ....................................................................................................... 19, 20, 25
                                                                   -iii-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 5 of 39. PageID #: 169




Huron Mountain Club v. U.S. Army Corps of Eng’rs,
  545 F. App’x 390 (6th Cir. 2013) ............................................................................................ 27

In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig.,
   756 F.3d 917 (6th Cir. 2014) .................................................................................................... 10

Leachco, Inc. v. Consumer Prod. Safety Comm’n,
  103 F.4th 748 (10th Cir. 2024)................................................................................................. 28

Loc. Lodge No. 1424 v. NLRB,
  362 U.S. 411 (1960) ................................................................................................................. 29

Maryland v. King,
  567 U.S. 1301 (2012) ............................................................................................................... 29

McNeilly v. Land,
  684 F.3d 611 (6th Cir. 2012) .................................................................................................... 10

Miranda v. Garland,
  34 F.4th 338 (4th Cir. 2022)..................................................................................................... 29

Nexstar Media, Inc. Grp. v. NLRB,
  ___F. Supp. 3d ___, 2024 WL 4127090 (N.D. Ohio Aug. 26, 2024) ...................................... 12

Nken v. Holder,
  556 U.S. 418 (2009) ................................................................................................................. 29

Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC,
   584 U.S. 325 (2018) ................................................................................................................. 19

Paine, Webber, Jackson & Curtis, Inc. v. Chase Manhattan Bank, N.A.,
  728 F.2d 577 (2d Cir. 1984) ..................................................................................................... 17

Renegotiation Bd. v. Bannercraft Clothing Co.,
  415 U.S. 1 (1974) ..................................................................................................................... 28

Seaboard Lumber Co. v. U.S.,
  903 F.2d 1560 (Fed. Cir. 1990) ................................................................................................ 15

SEC v. Jarkesy,
  144 S. Ct. 2117 (2024) ...................................................................................................... passim

Seila Law, LLC v. Consumer Fin. Prot. Bureau,
   591 U.S. 197 (2020) ................................................................................................................. 28

St. John’s United Church of Christ v. City of Chi.,
    502 F.3d 616 (7th Cir. 2007) .............................................................................................. 13, 14



                                                                   -iv-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 6 of 39. PageID #: 170




Starbucks Corp. v. McKinney,
   144 S. Ct. 1570 (2024) ............................................................................................................. 10

Stern v. Marshall,
   564 U.S. 462 (2011) ................................................................................................................. 22

Stryker Emp. Co., LLC v. Abbas,
   60 F.4th 372 (6th Cir. 2023)..................................................................................................... 10

Thomas v. Union Carbide Agr. Prods. Co.,
  473 U.S. 568 (1985) ................................................................................................................. 16

Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994) .......................................................................................................... passim

Tull v. United States,
  481 U.S. 412 (1987) ..................................................................................................... 24, 25, 26

United States v. Wunderlich,
  342 U.S. 98 (1951) ............................................................................................................. 15, 16

Winter v. Nat. Res. Def. Council, Inc.,
  555 U.S. 7 (2008) ..................................................................................................................... 10

Yapp USA Auto. Sys., Inc. v. NLRB,
  ___F. Supp. 3d___, 2024 WL 4119058 (E.D. Mich. Sept. 9, 2024),
  appeal filed, No. 24-1754 (6th Cir. Sept. 9, 2024) ....................................................... 11, 12, 13

STATUTES

12 U.S.C. §§ 1701, et seq................................................................................................................ 3

12 U.S.C. § 1701t...................................................................................................................... 3, 29

12 U.S.C. § 1713 ............................................................................................................................. 3

12 U.S.C. § 1715c ........................................................................................................................... 4

12 U.S.C. § 1715k ......................................................................................................................... 20

12 U.S.C. § 1715l............................................................................................................................ 3

12 U.S.C. § 1715n ........................................................................................................................... 3

12 U.S.C. § 1715z-1a .................................................................................................................... 25

12 U.S.C. § 1735f-15 ............................................................................................................. passim



                                                                     -v-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 7 of 39. PageID #: 171




Federal Housing Administration,
  Pub. L. No. 73-479, 48 Stat. 1246 (1934) .................................................................................. 3

Department of Housing and Urban Development Reform Act of 1989,
  Pub. L. No. 101-235, 103 Stat. 1987 .......................................................................................... 5

REGULATIONS

24 C.F.R. Part 5 Subpart G ............................................................................................................. 4

24 C.F.R. Part 5 Subpart H ............................................................................................................. 4

24 C.F.R. § 30, et seq ...................................................................................................................... 7

24 C.F.R. § 26.52 ............................................................................................................................ 8

24 C.F.R. § 30.45 ................................................................................................................... passim

24 C.F.R. § 30.70 ............................................................................................................................ 7

24 C.F.R. § 30.80 .......................................................................................................................... 24

24 C.F.R. § 30.85 ............................................................................................................................ 7

24 C.F.R. § 30.90 ............................................................................................................................ 8

24 C.F.R. § 30.95 ............................................................................................................................ 8

Adjustment of Civil Monetary Penalty Amounts for 2024,
  89 Fed. Reg. 13,614 ................................................................................................................... 5

UNITED STATES CONSTITUTION

U.S. CONST. AMEND. VII .............................................................................................................. 18

OTHER AUTHORITIES

Darryl E. Getter, Multifamily Housing Finance and Selected Policy Issues, CONG. RES. SERV.
  REPORT R46480 (Updated Mar. 8, 2023),
  https://crsreports.congress.gov/product/pdf/R/R46480 ........................................................ 4, 21

Frank T. Sinito – The Millennia Companies,
   https://themillenniacompanies.com/frank-t-sinito/ .................................................................... 8

HUD Reform: Hearing before the Subcomm. on Hous. & Cmty. Dev. of the H. Comm. on
  Banking, Fin. & Urb. Affs., 101st Cong. (1989) .............................................................. 6, 7, 22




                                                                     -vi-
        Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 8 of 39. PageID #: 172




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  https://www.nmhc.org/advocacy/issue-fact-sheet/fha-multifamily-and-the-apartment-
  industry-fact-sheet ...................................................................................................................... 4




                                                                   -vii-
      Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 9 of 39. PageID #: 173




                                        INTRODUCTION

       Consistent with its authority to administratively enforce and adjudicate public rights, the

Department of Housing and Urban Development (“HUD”) is pursuing a consolidated enforcement

proceeding against Plaintiffs Frank Sinito and his affiliated entities, which develop, own, and

manage multifamily housing projects across the country (“Plaintiffs”). HUD’s administrative

claims, which are pending before the agency’s Office of Hearings and Appeals (“OHA”), allege

that Plaintiffs violated the prohibition on unauthorized use of government-insured loans under

Section 537 of the National Housing Act, 12 U.S.C. § 1735f-15(c) (“Section 537”); its

corresponding regulatory requirement; and the terms of multiple Regulatory Agreements between

Plaintiffs and HUD.

       Plaintiffs, in an effort to short-circuit that administrative proceeding, bring this

preliminary-injunction motion. They argue that the proceeding before OHA should be immediately

enjoined because HUD’s claims are “legal” in nature, and therefore subject to a jury trial and

adjudication by an Article III court in the first instance, rather than upon conclusion of proceedings

before the agency, under SEC v. Jarkesy, 144 S. Ct. 2117 (2024). This Court should deny Plaintiffs’

motion because they have failed to show that the factors governing the issuance of preliminary

injunctive relief support the extraordinary relief they seek.

       Plaintiffs fail to satisfy the first factor—a showing of likelihood of success on the merits

of their claims—for several reasons. First, this Court lacks subject-matter jurisdiction over

Plaintiffs’ Seventh Amendment claim. Section 537 contains a special-jurisdiction provision that

expressly channels review over such claims through review at the agency and then in a U.S. Court

of Appeals. This provision applies with full force to Plaintiffs’ Seventh Amendment claim here

because it is “of the type” that Congress subjected to the special-review provisions. See Thunder



                                                 -1-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 10 of 39. PageID #: 174




Basin Coal Co. v. Reich, 510 U.S. 200, 212 (1994). For this reason, Plaintiffs cannot show a

likelihood of success on the merits of that claim, as needed to obtain emergency relief.

       Second, even if the Court determines that it has jurisdiction over one or more of Plaintiffs’

claims, it should deny Plaintiffs’ motion because they have waived any right to a jury trial or

Article III adjudication by entering into contracts with HUD that channel the adjudication of

HUD’s claims through administrative proceedings.

       Third, even were the Court to conclude that Plaintiffs have not waived their constitutional

challenges, it should nevertheless deny their preliminary injunction motion because HUD’s claims

against them fall under the public-rights exception because they arise out of a “novel” affordable

housing regulatory scheme. Jarkesy, 144 S. Ct. at 2137.

       Fourth, if the Court rejects the application of the public-rights exception, Plaintiffs still fail

to show likelihood of success because they cannot show that under Jarkesy’s two-prong test,

HUD’s claims are legal, as opposed to equitable, in nature. As for Jarkesy’s first prong (nature of

the remedies), HUD’s claims—which consider factors such as the violator’s ability to pay the

penalty, injury to the public, injury to the tenants, and injury to the lot owners—are distinguishable

from the remedies the Supreme Court characterized as purely punitive in Jarkesy. The second

prong—the relationship between the cause of action under Section 537 and common law—also

supports finding that HUD’s claims are equitable. HUD’s claims arise out of a unique affordable

housing regulatory scheme created by Congress in the 1930s; as such, no common-law analogue

to such claims existed in the 18th Century.

       Moreover, the other preliminary injunction factors independently compel denial of

injunctive relief. Plaintiffs fail to show irreparable harm for several reasons. First, their own delay

in seeking relief illustrates the lack of urgency. Second, Plaintiffs’ alleged harms—denial of a right



                                                  -2-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 11 of 39. PageID #: 175




to a jury trial and Article III adjudication—fail on the substance because they are unlikely to show

that either the Seventh Amendment or Article III are implicated by the administrative adjudication.

Third, even if they could make that showing as to either of their claims, any harm would not be

irreparable because if Plaintiffs were to prevail on their claims, any remedy granted to HUD by

OHA could be vacated after the fact.

       Finally, the balance of the equities and public interest weigh against an injunction. There

is compelling public and Government interest in enforcing the prohibition against unauthorized

use of government funds under the statutory housing programs HUD administers—which not only

protect the public fisc but also enforce the overarching statutory goals of the National Housing Act

to provide affordable housing. An injunction would hinder Congress’s mandate to HUD to enforce

these protections in a timely and orderly fashion.

                                        BACKGROUND

I.     STATUTORY AND REGULATORY SCHEME

       In 1934, Congress, concerned with the declining national stock of affordable housing,

enacted the National Housing Act. 12 U.S.C. §§ 1701, et seq. The Act was passed to ensure that

every American family has a decent home and a suitable living environment. See id. § 1701t. The

Act created the Federal Housing Administration (“FHA”), which is now a component of HUD,

and included two programs: Section 203 and Section 207. Pub. L. No. 73-479 §§ 204, 207, 48 Stat.

1246, 1249, 1252 (1934). Section 203 insured lenders against losses on single-family homes, and

Section 207 provided insurance on large-scale rental projects for low-income individuals. Id. Since

that time, Congress has created additional insurance programs to encourage the construction of

affordable multifamily housing. See, e.g., 12 U.S.C. §§ 1713, 1715l, 1715n.




                                                -3-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 12 of 39. PageID #: 176




        By insuring lenders against the risk of loss from mortgage defaults, HUD’s multifamily

insurance programs can increase the amount of capital available to borrowers (“mortgagors”) to

build, rehabilitate, purchase, and refinance multifamily rental housing with more favorable interest

rates and other terms than would otherwise be available. As a result, FHA-insured loans “can

encourage investment in higher-risk properties in underserved areas,” in part “by reducing

developers’ financing costs and assuming some or all of the interest rate risks that otherwise would

be borne by lenders.” Darryl E. Getter, Multifamily Housing Finance and Selected Policy Issues,

CONG.      RES.      SERV.    REPORT       R46480     (Updated    Mar.     8,    2023)      at     10,

https://crsreports.congress.gov/product/pdf/R/R46480 (“Getter”). These mortgages “can help

sustain profitability of various multifamily projects that otherwise might be bypassed due to the

higher financing costs.” Id. As an industry trade association has noted, “FHA lending is essential

to . . . affordable housing developers” because FHA-insured loans provide “a material and

important source of capital for underserved segments of the rental market.” Nat’l Multifamily

Hous.     Council,     FHA     Multifamily    and     the   Apartment    Industry    Fact        Sheet,

https://www.nmhc.org/advocacy/issue-fact-sheet/fha-multifamily-and-the-apartment-industry-

fact-sheet/ (last visited Jan. 7, 2025).

        With these benefits come certain requirements. Specific statutes and regulations impose

new restrictions and conditions on lenders, mortgagors, and properties subject to FHA-insured

mortgages, which serve to protect the FHA-insurance fund as well as to advance particular policy

goals that Congress has enacted into law. See, e.g., 24 C.F.R. Part 5 Subparts G & H (setting forth

requirements for physical conditions and financial reporting for properties with certain types of

FHA-insured mortgages); 12 U.S.C. § 1715c (requiring compliance with federal prevailing-wage

standards under the Davis-Bacon Act as a condition for obtaining certain types of FHA mortgage



                                                -4-
      Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 13 of 39. PageID #: 177




insurance). Mortgagors also enter into Regulatory Agreements with HUD, under which the

mortgagor explicitly agrees to comply with certain requirements, some of which reiterate statutory

and regulatory provisions, while others state additional obligations. See, e.g., Compl. Ex. A,

Exemplar Regulatory Agreement ¶ 6(b), Dkt. No. 1-1 (mirroring a statutory prohibition); id.

¶¶ 6(e), (f) (imposing additional restrictions). Mortgagors and their management agents also

execute Project Owner’s/Management Agent’s Certifications (“POMAC”), in which they certify

that they “will comply with HUD requirements and contract obligations,” and acknowledge that

“HUD may seek additional civil money penalties to be paid by mortgagor through personal funds

for: . . . [c]ertain specific violations of the Regulatory Agreement, the penalties could be as much

as $25,000 per occurrence (12 U.S.C. 1735f-15).”1 See, e.g., Cherry Estates LP & Cherry Estates

Investment LLC POMAC, at 1-2 (“Exhibit A”).

II.    ENACTMENT OF SECTION 537

       Plaintiffs here challenge HUD’s authority to impose, through an administrative process,

civil money penalties against mortgagors and certain other closely related parties responsible for

multifamily properties with FHA-insured mortgages. This authority derives from Section 537 of

the Act. As relevant here, Section 537 provides that HUD may impose a civil money penalty on a

mortgagor or closely related party “that knowingly and materially” engages in “[a]ssignment,

transfer, disposition, or encumbrance of any personal property of the project, including rents, other

revenues, or contract rights, or paying out any funds, except for reasonable operating expenses and

necessary repairs, without the prior written approval of the Secretary.” 12 U.S.C. § 1735f-

15(c)(1)(B)(ii). As described below, HUD has used this authority to protect the public and public




1
 The current penalty amount adjusted for inflation is $61,238 per occurrence. See Adjustment of
Civil Monetary Penalty Amounts for 2024, 89 Fed. Reg. 13,614 (Feb. 23, 2024).
                                                -5-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 14 of 39. PageID #: 178




funds for more than three decades, using hearing procedures that provide respondents with several

opportunities to present evidence and arguments before the imposition of a penalty, which is

subsequently subject to direct review by an appropriate court of appeals following a final agency

decision. See 12 U.S.C. § 1735f-15(e)(1).

        Congress enacted the original version of Section 537 as part of the Department of Housing

and Urban Development Reform Act of 1989, Pub. L. No. 101-235, 103 Stat. 1987. In response to

several high-profile scandals involving HUD programs, the agency asked for and received

statutory authority to bring administrative actions for civil money penalties that would fill the gaps

left by other statutes. See HUD Reform: Hearing before the Subcomm. on Hous. & Cmty. Dev. of

the H. Comm. on Banking, Fin. & Urb. Affs., 101st Cong. at 1-2, 107-08 (1989).

        Before its passage, HUD had limited options for sanctioning violators, options which HUD

contended had “a more adverse effect on the Department and the tenants than on the mortgagor.”

Id. at 261 (Legislative Proposal Attached to Letter from Secretary Jack Kemp to Speaker Thomas

S. Foley). Before 1989, if a mortgagor violated HUD’s requirements, the principal remedies were

to declare the mortgage in default and to debar the mortgagor. Id. at 107, 261. But taking these

steps could result in HUD foreclosing on the property at a loss and paying an insurance claim to

the lender, while the property itself would “deteriorate[] physically and financially, with the

consequent reduction in services to tenants.” Id. at 261. Alternatively, HUD could ask the

Department of Justice to bring a criminal action, but only if the conduct constituted a criminal

offense, could be proved beyond a reasonable doubt, and warranted sufficient prosecutorial

resources. See id. at 107, 262. A civil action under the False Claims Act or the Program Fraud

Civil Remedies Act might also vindicate HUD’s requirements, but only for the subset of violations

that involved a false claim or false certification. Id. at 262.



                                                  -6-
       Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 15 of 39. PageID #: 179




        HUD’s summary of the reform package illustrated the problem with an FHA-insured

property that fell into severe disrepair after years of neglect. The agency explained that the former

all-or-nothing enforcement scheme prevented HUD from taking early action to halt the property’s

decline. Id. at 107 (“Reform of HUD Under President George Bush and Secretary Jack Kemp:

Clearing the Decks”). Conversely, it argued, agency-imposed fines would have “economically

forced the owners and managers to take one of two actions: either make the necessary repairs, or

default,” which would enable HUD to bring in a more responsible owner before the property had

“deteriorated to the point of being worthless.” Id. at 108.

III.    ADMINISTRATIVE ENFORCEMENT

        Under the current version of Section 537, “[t]he Secretary shall establish standards and

procedures governing the imposition of civil money penalties” that “shall provide for the Secretary

or other department official . . . to make the determination to impose a penalty . . . only after [a

respondent] has been given an opportunity for a hearing on the record[.]” 12 U.S.C. § 1735f-

15(d)(1), Federal agency adjudications “on the record” are subject to the Administrative Procedure

Act (APA). HUD has promulgated regulations governing its civil money penalty actions, at 24

C.F.R. § 30, et seq.

        Under these regulations, before HUD imposes a civil money penalty, it must first issue a

“Prepenalty Notice” to a potential respondent, advising that HUD is considering seeking civil

money penalties, identifying specific alleged violations and the maximum potential penalty, and

inviting the submission of a response within 30 days for the agency to consider before any

complaint is filed. See 24 C.F.R. § 30.70. After the 30-day response period, HUD may file a

complaint that sets forth the factual and legal basis for the penalty, states the amount sought, and

informs the respondent of its right to request a hearing in writing within 15 days. Id. § 30.85. If



                                                 -7-
      Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 16 of 39. PageID #: 180




the respondent requests a hearing, it must submit an answer to the complaint, and the proceeding

before the Administrative Law Judge (ALJ) begins. Id. §§ 30.90, 30.95. Either party can appeal

the ALJ’s determination to the Secretary. Id. § 26.52(a), (k); see also 12 U.S.C. § 1735f-

15(d)(1)(C). After exhausting these administrative remedies, judicial review is available to the

penalized party who may seek review of the final agency action in the appropriate federal court of

appeals. Id. § 1735f-15(e).

IV.    RELEVANT FACTS AND PROCEDURAL HISTORY

       Plaintiff Frank Sinito and his affiliated entities develop, own, and manage multifamily

housing projects across the country. Doing business as the Millennia Companies, Sinito’s

enterprise has over 200 properties in its portfolio. See Frank T. Sinito – The Millennia Companies,

https://themillenniacompanies.com/frank-t-sinito/ (last visited Jan. 7, 2025). Many of these

properties have FHA-insured mortgages and other HUD contracts, including all 16 involved in the

challenged administrative action. These properties are all managed by Plaintiff Millennia Housing

Management, Ltd., and owned by single-asset entities in which Sinito has a direct or indirect

ownership stake. Each of the remaining plaintiffs is either the mortgagor-owner entity of one of

these properties or a partner in a mortgagor-owner entity. Compl. ¶ 49, Dkt. 1.

       The administrative action arose from a 2023 HUD review of bank statements and other

financial documents in Plaintiffs’ files relating to a selection of Millennia properties subject to

HUD contracts. See, e.g., Pls.’ Mot. for a Prelim. Inj. (“Pls. Br.”) Ex. B, Admin. Compl. (“Admin.

Compl.”) ¶ 29, Dkt. No. 3-2. HUD identified numerous potential violations of statutory and

regulatory requirements at the 16 properties at issue, including repeated violations of the

prohibition on “paying out any funds, except for reasonable operating expenses and necessary

repairs, without the prior written approval of the Secretary.” 12 U.S.C. § 1735f-15(c)(1)(B)(ii).



                                                -8-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 17 of 39. PageID #: 181




HUD concluded that each transaction improperly removed funds from a particular property, in

most cases diverting them to some other entity affiliated with Sinito and The Millennia Companies.

See, e.g., Admin. Compl. ¶¶ 53, 55.

       HUD therefore issued letters to each property in November of 2023 demanding repayment

of the misappropriated funds. The next month, HUD issued a Pre-Penalty Notice for each property,

as required by its regulations. Id. ¶ 13. Finally, from February through April of 2024, HUD filed

and served 16 administrative complaints, which alleged specific details about each of 119 financial

transactions alleged to have violated the statutory prohibition.2 In total, HUD alleged that Plaintiffs

took $3,313,909 out of the properties’ accounts without authorization between January 2022 to

April 2023. The complaints explained that these improper transactions were material to HUD

“because the distributions placed the Project at financial risk” and HUD’s decision to insure the

mortgages relied upon HUD’s statutory and contractual rights to approve all distributions to ensure

they “would not deprive the Project of needed assets or render it insolvent.” Id. ¶¶ 34-36.

       These complaints triggered the current administrative proceedings before OHA. The ALJ

consolidated these actions into a single proceeding on May 2, 2024. Plaintiffs filed initial answers

to each of the complaints on May 22, none of which raised a defense based on Article III or the

Seventh Amendment. Plaintiffs later sought and received permission to file amended answers to

add that defense, which they did on August 1.

       The ALJ initially set the consolidated matter for an in-person oral hearing to commence on

December 2, 2024. Plaintiffs, with HUD’s consent, later moved to extend the discovery period and

postpone the hearing until March 3, 2025, which the ALJ granted. Following the execution of



2
 HUD also alleges the transactions also violated a corresponding regulatory provision, 24 C.F.R.
§ 30.45(c), as well as each project’s Regulatory Agreement. See, e.g., Admin. Compl. ¶¶ 30, 35,
36, 63 & Prayer for Relief ¶ 69.
                                                 -9-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 18 of 39. PageID #: 182




criminal search warrants against Millennia’s CEO, Frank Sinito, on November 1, 2024, Plaintiffs

sought to stay the administrative proceeding pending the outcome of the criminal investigation,

which the ALJ denied on November 22, 2024. In the interim, both sides have begun to make rolling

productions of documents responsive to discovery requests.

                                           ARGUMENT
       A plaintiff may obtain the “extraordinary remedy” of a preliminary injunction only “upon

a clear showing” that it is “entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.

7, 22 (2008). In evaluating a motion for a preliminary injunction, this Court must consider: “(1) the

movant’s likelihood of success on the merits;3 (2) whether the movant will suffer irreparable injury

without a preliminary injunction; (3) whether issuance of a preliminary injunction would cause

substantial harm to others; and (4) whether the public interest would be served by issuance of a

preliminary injunction.” McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012). Plaintiffs’ Seventh

Amendment and Article III adjudication claims fail the above standard.4



3 Notably, with respect to the first factor, Plaintiffs argue that “‘it is ordinarily sufficient if the

plaintiff has raised questions going to the merits so serious, substantial, difficult, and doubtful as
to make them fair ground for litigation.’” Pls. Br. 9 (quoting Stryker Emp. Co., LLC v. Abbas, 60
F.4th 372, 385 (6th Cir. 2023)). But as the Supreme Court confirmed this past Term, the movant
must “make a clear showing that it is likely to succeed on the merits.” Starbucks Corp. v.
McKinney, 144 S. Ct. 1570, 1575 (2024) (citation omitted). Granting injunctive relief under a
lesser standard—such as “reasonable cause to believe” or “substantial and not frivolous”—would
constitute a “watered-down approach to equity.” Id. at 1578.
4
   In addition to these two claims, in a footnote, Plaintiffs assert that the for-cause removal
restrictions of HUD ALJ’s amount to another structural constitutional violation. See Pls. Br. at 1
n.4. But Plaintiffs do not identify this challenge as a basis for their request for a preliminary
injunction. See, e.g., id. at 16 (basing their irreparable-harm claim solely on their “Seventh
Amendment rights and their right to have their dispute heard by an Article III court”). But
regardless, “[b]ecause Plaintiffs fail to develop this argument further than this footnoted reference,
it is forfeited.” In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig., 756 F.3d 917, 932
(6th Cir. 2014); see also Carter v. Toyota Tsusho Am., Inc., 529 F. App’x 601, 612 n.2 (6th Cir.
2013) (“Generally, an argument raised in a footnote without further development is deemed
waived.”). Because in this current posture, this claim is not properly before the Court, the
Defendants do not address its merits, but reserve the right to do so at a later stage.
                                                 -10-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 19 of 39. PageID #: 183




I.     PLAINTIFFS ARE NOT LIKELY TO SUCCEED ON THE MERITS.

           A. Plaintiffs are not likely to show that the Court has subject-matter
              jurisdiction over their Seventh Amendment claim.
       Section 537 contains a special-review provision under which “[j]udicial review of agency

determination” is channeled directly to the appropriate U.S. Court of Appeals. 12 U.S.C. § 1735f-

15(e)(1). As the Supreme Court has explained, review schemes that provide for direct judicial

review in the U.S. Court of Appeals following administrative adjudication are “typical[],” and

“divest[] district courts of their ordinary jurisdiction over the covered cases.” Axon Enter., Inc. v.

Fed. Trade Comm’n, 598 U.S. 175, 185 (2023). Under such review schemes, the district court may

only exercise jurisdiction if it concludes that plaintiffs’ claims are not “of the type Congress

intended to be reviewed within [the] statutory structure.” Thunder Basin, 510 U.S. at 212. To

answer this question, the Court must consider the three Thunder Basin factors: (1) whether

preclusion of review would “foreclose all meaningful judicial review”; (2) whether “the suit is

‘wholly collateral to [the] statute’s review provisions’”; and (3) whether “the claims are ‘outside

the agency’s expertise.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 489

(2010) (quoting Thunder Basin, 510 U.S. at 212–13).

       Plaintiffs, by analogizing this suit to Axon, argue that this suit satisfies the Thunder Basin

factors. This analogy is misguided. In Axon, the Supreme Court examined the Thunder Basin

factors and concluded that plaintiffs’ constitutional challenges to the structure and existence of the

SEC and the FTC are not “of the type” that Congress envisioned would fall within the statutes’

special-review schemes. Axon, 598 U.S. at 185–96. Thus, it concluded that the district court had

jurisdiction over those claims. Id.

       As several district courts have recently recognized, however, similar post-Jarkesy Seventh

Amendment claims do not satisfy the Thunder Basin factors and are wholly distinct from the


                                                -11-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 20 of 39. PageID #: 184




structural constitutional claims in Axon. See, e.g., Yapp USA Auto. Sys., Inc. v. NLRB, ___F. Supp.

3d___, 2024 WL 4119058, at *10–12 (E.D. Mich. Sept. 9, 2024), appeal filed, No. 24-1754 (6th

Cir. Sept. 9, 2024); Blankenship v. Fin. Indus. Regul. Auth., Civ. A. No. 24-3003, 2024 WL

4043442, at *2–3 (E.D. Pa. Sept. 4, 2024); Nexstar Media, Inc. Grp. v. NLRB, ___ F. Supp. 3d

___, 2024 WL 4127090, at *2–5 (N.D. Ohio Aug. 26, 2024). This Court should follow suit.

       i.      First Thunder Basin factor

       As for the first factor, precluding judicial review in the district court would not foreclose

meaningful judicial review of Plaintiffs’ Seventh Amendment claim. This claim challenges the

remedies sought by HUD in the administrative proceedings. See YAPP, 2024 WL 4119058, at *11

(explaining that plaintiff’s post-Jarkesy “Seventh Amendment claim is a challenge to the remedies

being sought in the administrative proceeding.”). If those proceedings conclude with an order

imposing remedies, Plaintiffs can seek review before the Sixth Circuit, which could vacate any

grant of legal remedies should Plaintiffs prevail. By contrast, the plaintiff in Axon alleged “that the

FTC’s internal proceedings were unconstitutional in their entirety.” Blankenship, 2024 WL

4043442, at *2 (emphasis added) (summarizing Axon’s holding). The Supreme Court concluded

that the structural-constitutional claims raised in Axon were a “here-and-now injury”—namely,

merely being subject to the proceeding of an agency that plaintiff challenged as unconstitutional

caused an injury that could not be remedied following review in the U.S. Court of Appeals. Axon,

598 U.S. at 195; see also Free Enter. Fund, 561 U.S. at 489–90 (concluding that the district court

had jurisdiction over a structural-constitutional challenge to the Public Company Oversight Board

under the SEC). Plaintiffs’ Seventh Amendment claim raises no such structural-constitutional

argument that would render the ALJ proceeding itself a constitutional violation. See Blankenship,

2024 WL 4043442, at *2 (plaintiff’s alleged Seventh Amendment injury under Jarkesy “are not



                                                 -12-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 21 of 39. PageID #: 185




‘here-and-now’ because they do not arise merely from his appearance in FINRA’s proceeding”);

YAPP, 2024 WL 4119058, at *11 (Seventh Amendment challenge is not “a structural challenge

attacking the very nature of the agency” (citation omitted)).

           ii.    Second Thunder Basin factor

           As for the second factor, Plaintiffs’ Seventh Amendment claim is not “wholly collateral”

to the statutes’ review provisions. Axon, 598 U.S. at 186 (citation omitted). To the contrary, the

Seventh Amendment is “the vehicle by which [Plaintiffs] seek to” challenge a potential future

decision by the agency regarding the remedies that may be granted at the conclusion of the OHA

proceedings. Elgin v. Dep’t of Treasury, 567 U.S. 1, 22 (2012); see also YAPP, 2024 WL 4119058,

at *12 (Seventh Amendment challenge to ALJ proceeding precluded under Thunder Basin because

“determining what type of remedies are appropriate or permissible under the [statute] is not

‘wholly collateral’ to the functioning of the [agency]”); Blankenship, 2024 WL 4043442, at *3

(Seventh Amendment “claims are not wholly collateral because they do not challenge [the

agency’s] existence, but instead depend on [the agency’s] proceedings and the interpretation of its

rules”).

           iii.   Third Thunder Basin factor

           As for the third factor—whether the agency has the expertise to address Plaintiffs’ claim—

Plaintiffs’ claim does not exist in a vacuum. Instead, it is “intertwined with or embedded in matters

on which [HUD has] expert[ise].” Axon, 598 U.S. at 195. The subject matter of the administrative

proceeding—violation of the requirements of an FHA-insured mortgage—falls “squarely within

[HUD]’s expertise.” Elgin, 567 U.S. at 23. As was the case in Elgin, if OHA rules in Plaintiffs’

favor on the threshold issue of unauthorized use of funds, it “would avoid the need to reach [the]

constitutional claim[].” Id. By contrast, neither Axon nor Free Enterprise presented any threshold



                                                  -13-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 22 of 39. PageID #: 186




issues that were intertwined with the structural-constitutional claims, which went beyond any

“enforcement-related matters.” Axon, 598 U.S. at 204.

       Moreover, permitting Plaintiffs to “bypass the administrative process” would require this

Court to decide “constitutional issues . . . devoid of factual context.” St. John’s United Church of

Christ v. City of Chi., 502 F.3d 616, 629 (7th Cir. 2007) (citation omitted). Accordingly, “Thunder

Basin and Free Enterprise . . . militate against jurisdiction when a pre-enforcement constitutional

claim relates to factual issues that are the subject of a pending administrative adjudication.” Chau

v. United States, 72 F. Supp. 3d 417, 426 (S.D.N.Y. 2014), aff’d, 665 F. App’x 67 (2d Cir. 2016).

       Lastly, even if HUD lacks the expertise to address Plaintiffs’ claim, that is of no moment

because the claim can be adequately reviewed by the Sixth Circuit. Indeed, in Thunder Basin, the

Court reasoned that regardless of the agency’s expertise in addressing the constitutional claims,

those claims “can be meaningfully addressed in the Court of Appeals.” Thunder Basin, 510 U.S.

at 215; see also Alpine Secs. Corp. v. Nat’l Secs. Clearing Corp., Case No. 2:23-cv-00782, 2024

WL 1011863, at *5 (D. Utah Mar. 8, 2024) (reasoning under Thunder Basin’s third factor, that

even if the agency has “no experience addressing similar Due Process claims, ‘petitioner’s

statutory and constitutional claims here can be meaningfully addressed in the Court of Appeals’”

(quoting Thunder Basin, 510 U.S. at 215), appeal filed, No. 24-4027 (10th Cir. Mar. 8, 2024)). In

sum, all three Thunder Basin factors illustrate that the statutory special review provision applies

to Plaintiffs’ claims, and the suit must be dismissed for lack of jurisdiction.

       B.      Plaintiffs are not likely to succeed on the merits of their claims.

       Even if the Court determines that it has jurisdiction over one or more of Plaintiffs’ claims,

it should nevertheless deny Plaintiffs’ motion because Plaintiffs are unlikely to succeed on the

merits of their Seventh Amendment and Article III claims.



                                                 -14-
         Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 23 of 39. PageID #: 187




    i.        Plaintiffs have waived their Seventh Amendment and Article III claims.

          Plaintiffs have failed to show a likelihood of success on the merits because—even

assuming HUD’s claims are subject to a trial by a jury or Article III adjudication—Plaintiffs have

waived any such right. See Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833, 848-49

(1986) (listing the right to adjudication in an Article III court as well as the right to a civil jury trial

among the waivable constitutional rights).5

          Specifically, each of the 16 properties at issue are subject to a separate Project

Owner’s/Management Agent’s Certification (“POMAC”), all of which contain the following

language: “HUD may seek additional civil money penalties to be paid by mortgagor through

personal funds for: . . . [c]ertain specific violations of the Regulatory Agreement, the penalties

could be as much as $25,000 per occurrence (12 U.S.C. 1735f-15).” See, e.g., Exhibit A, at 2.6



5
  Plaintiffs also allege that the administrative proceeding “violates the separation of powers by
usurping Article III’s Judicial Power.” Pls. Br. at 6. Separation of powers—if implicated—is not
a waivable claim. Schor, 478 U.S. at 850-51. But Plaintiffs fail to raise this argument in any
meaningful way. Indeed, the three relevant mentions of “separation of powers,” appear in
conclusory sentences. Pls. Br. at 1, 6, 17. Substantively, Plaintiffs’ Article III claim pertains to
their alleged right to “an impartial and independent federal adjudication,” which “is subject to
waiver.” Schor, 478 U.S. at 849. And, as explained below, Plaintiffs have waived this alleged right.
Plaintiffs cannot circumvent waiver by masquerading their claim for Article III adjudication as a
separation-of-powers claim. Besides, as explained below, even assuming Plaintiffs have raised an
independent separation-of-powers claim, that claim fails under the public-rights exception. See
infra I.B(ii)(a).
6
  The following twenty-one Plaintiffs have executed POMACs with HUD: Frank T. Sinito;
Millennia Housing Mgmt Ltd.; Cherry Estates LP; Cherry Estates Investment, LLC; Highland
Place Associates I, Ltd.; Petosky Riverview LDHA LP; Hunter’s Run Investment, LLC; Halton
HR Investors, LLC; Hickory Creek Estates, Ltd.; International Towers I Ohio, Ltd.; Bethel Tower
LDHA LP; Trail West, Ltd.; Covenant Apartments LP; Covenant Apartments Investment, LLC;
Sherman Thompson OH, TC LP; Robinson Heights Apartments I, LP; Oakdale Estates Investment
LLC; Oakdale Estates II Investment, LLC; Kingsbury Tower I, Ltd.; Flushing Elmcrest LDHA
LP; and Morning Star Tower, Ltd.
See attached POMACs as Exhibits: Highland Place Associates I, Ltd. POMAC (“Exhibit B”);
Petosky Riverview LDHA LP POMAC (“Exhibit C”); Hunter’s Run Investment, LLC & Halton
HR Investors, LLC POMAC (“Exhibit D”); Hickory Creek Estates, Ltd. POMAC (“Exhibit E”);
International Towers I Ohio, Ltd. POMAC (“Exhibit F”); Bethel Tower LDHA LP POMAC
                                                   -15-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 24 of 39. PageID #: 188




       “Government contractors long have been held to be bound by a provision vesting dispute

resolution in a nonjury/non-Article III forum.” Seaboard Lumber Co. v. U.S., 903 F.2d 1560, 1564

(Fed. Cir. 1990). For example, in United States v. Wunderlich, the Court held that the standard

government contract, which included a provision outlining administrative adjudication, amounted

to a waiver of Article III adjudication. 342 U.S. 98, 99–101 (1951); see also Thomas v. Union

Carbide Agr. Prods. Co., 473 U.S. 568, 592 (1985) (holding that the plaintiff’s registration

submission, which included an acknowledgment that it will be bound by the statute’s arbitration

provision, amounted to an “explicit[] consent[] to have his rights determined by arbitration”).

       Similarly, here, as government contractors, twenty-one of the Plaintiffs executed POMACs

with HUD and agreed to be subject to the penalties outlined in Section 537. As such, this Court

should rule that the twenty-one Plaintiffs that have executed POMACs with HUD have expressly

waived any right to a jury trial and Article III adjudication.

       Ten of the remaining Plaintiffs,7 have similarly waived their rights to a jury trial and Article

III adjudication by entering into Regulatory Agreements, which include the following general

obligations: mandating that “[b]orrower shall comply with all applicable: laws; ordinances;

regulations; requirements of any Governmental Authority”; providing that “HUD shall be entitled

to invoke any remedies available by law to redress any breach or to compel compliance by




(“Exhibit G”); Trail West, Ltd. POMAC (“Exhibit H”); Covenant Apartments LP & Covenant
Apartments Investment, LLC POMAC (“Exhibit I”); Sherman Thompson OH, TC LP POMAC
(“Exhibit J”); Robinson Heights Apartments I, LP POMAC (“Exhibit K”); Oakdale Estates
Investment LLC POMAC (“Exhibit L”); Oakdale Estates II Investment, LLC POMAC (“Exhibit
M”); Kingsbury Tower I, Ltd. POMAC (“Exhibit N”); Flushing Elmcrest LDHA LP POMAC
(“Exhibit O”); Morning Star Tower, Ltd. POMAC (“Exhibit P”).
7
  Bethel Tower Investment, LLC; Robinson Heights Apartments Investment I, LLC; Elmcrest
Investment, LLC; Halton Springs Investments, LLC; International Tower Investment I, LLC;
Morning Star Tower Investment, LLC; Oakdale Estates Investment GP, LLC; Oakdale Estates,
Ltd.; Petoskey Riverview Investment, LLC; and, Kingsbury Tower Investment I, LLC.
                                                 -16-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 25 of 39. PageID #: 189




Borrower with these requirements, including any remedies available hereunder”; and, defining

“Program Obligations” as “all applicable statutes and any regulations issued by the Secretary

pursuant thereto that apply to the Project . . . .” See, e.g., Bethel Tower Investment, LLC Regulatory

Agreement (“RA”), at 7, 26 (“Exhibit Q”).8

       Importantly, the fact that these Regulatory Agreements do not explicitly reference Section

537 or 24 C.F.R. § 30.45 is of no moment. For instance, in Geldermann, Inc. v. Commodity Futures

Trading Commission, Geldermann voluntarily joined the Chicago Board of Trade (CBT) and

agreed “to observe and be bound by the Charter, Rules and Regulations of the Association, and all

amendments subsequently made thereto.” 836 F.2d 310, 318 (7th Cir. 1987) (citation

omitted). When CBT subsequently amended its rules to require arbitration, the court held that

Geldermann’s agreement to observe CBT’s rules (albeit, generally) bound Geldermann to CBT’s

specific mandate to arbitrate even though no explicit waiver of an Article III adjudication appeared

in the agreement. Id.; see also Paine, Webber, Jackson & Curtis, Inc. v. Chase Manhattan Bank,

N.A., 728 F.2d 577, 580 (2d Cir. 1984) (“[T]he arbitration provisions of the NYSE Constitution

and Rules are sufficient in and of themselves to compel arbitration of covered disputes under § 3,

whether or not they are incorporated in a purchase and sale agreement.”). Similarly, here, by

agreeing to be bound by the applicable statutes and regulations generally, the Plaintiffs that entered

into the relevant Regulatory Agreements agreed to be bound by Section 537.




8
  See attached RAs as Exhibits: Robinson Heights Apartments I, LP & Robinson Heights
Apartments Investment I, LLC RA (“Exhibit R”); Flushing Elmcrest LDHA LP & Elmcrest
Investment, LLC RA (“Exhibit S”); Hunter’s Run Investment, LLC & Halton HR Investors, LLC
& Halton Springs Investments, LLC RA (“Exhibit T”); International Towers I Ohio, Ltd. &
International Tower Investment I, LLC RA (“Exhibit U”); Morning Star Tower, Ltd. & Morning
Star Tower Investment, LLC RA (“Exhibit V”); Oakdale Estates Investment GP, LLC & Oakdale
Estates, Ltd. RA (“Exhibit W”); Petoskey Riverview Investment, LLC RA (“Exhibit X”);
Kingsbury Tower Investment I, LLC RA (“Exhibit Y”).
                                                -17-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 26 of 39. PageID #: 190




       As for the remaining eight Plaintiffs9 that have not entered into either a POMAC or a

Regulatory Agreement that contains the above waivers, they have implicitly waived their rights by

participating in the FHA-insured mortgage program. After all, Section 537 itself makes clear that

those who benefit from the program are subject to civil money penalties in accordance with Section

537. See 12 U.S.C. § 1735f-15(c)(1)(A) (identifying the “[l]iable parties” as including “any general

partner of a partnership mortgagor of such property” and “any member of a limited liability

company that is the mortgagor of such property or the general partner of a limited partnership

mortgagor,” among others). As such, by voluntarily participating in the FHA-insured mortgages

program, the remaining Plaintiffs knowingly subjected themselves to Section 537. Notably, all

Plaintiffs are controlled by Frank T. Sinito and Millennia Housing Mgmt Ltd. who are veteran

HUD contractors with ample knowledge about the relevant statutory and regulatory requirements.

See Admin. Compl. ¶ 47 (“Frank Sinito and Millennia have ownership interests in over two

hundred HUD assisted multifamily properties.”). The interconnected nature of Plaintiffs’

businesses illustrates that all Plaintiffs participated in—and benefited from—the relevant

government programs with the knowledge of their statutory obligations under Section 537.

       Thus, the Court should hold that all Plaintiffs, either explicitly or implicitly, waived any

right to a jury trial or Article III adjudication as a condition of participation in the applicable

government programs. If the Court concludes, however, that only the Plaintiffs that have entered

into POMACs or Regulatory Agreements have waived their rights, it should uphold the waiver

with respect to those Plaintiffs and allow HUD to continue its administrative adjudication of the

relevant claims with respect to those Plaintiffs.



9 Covenant Project, LLC; Trail West Investment, LLC; Trail West Housing Partners, Inc.; Hickory

Creek Estates Investment, LLC; Sherman Thompson Towers Investment, LLC; Highland Place
Investment I, LLC; YMHA Housing Preservation, LLC; and, HWFB HR Investment, LLC.
                                                -18-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 27 of 39. PageID #: 191




   ii.      HUD’s claims are not subject to Article III or the Seventh Amendment under Jarkesy.

         If the Court concludes that Plaintiffs did not waive any Seventh Amendment or Article III

rights, and thereby finds it necessary to reach the substance of Plaintiffs’ claims, it should

nevertheless deny Plaintiffs’ motion because HUD’s claims are not subject to the Seventh

Amendment or Article III adjudication under Jarkesy.

         The Seventh Amendment preserves the “right of trial by jury” in “suits at common law,

where the value in controversy shall exceed twenty dollars.” U.S. CONST. AMEND. VII. This right,

however, only “extends to a particular statutory claim if the claim is ‘legal in nature.’” Jarkesy,

144 S. Ct. at 2128 (quoting Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 53 (1989)). In Jarkesy,

the Court identified two factors that determine whether a suit is “legal in nature”: (1) “the remedy”

and (2) “the cause of action.” Id. at 2129. In doing so, however, the Court also reaffirmed that,

under the “public rights” doctrine, “Congress may assign [a] matter for [an initial] decision to an

agency without a jury,” consistent with the Seventh Amendment and Article III, even when “the

judicial power” is “capable of acting on [it].” Id. at 2131-32 (citation omitted).

         As explained below, Jarkesy’s synthesis of the public-rights exception makes clear that it

applies with full force here, and the Court need not determine whether the claims are legal or

equitable under Jarkesy’s two-prong text. But under application of that test, the Court should hold

that the claims are equitable.

                a.      The claims fall under the public-rights exception.

         As the Supreme Court has explained, where a matter involves public rights, Congress may

“properly assign[] a matter to adjudication in a non-Article III tribunal,” without implicating the

Seventh Amendment. Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 584 U.S. 325,

345 (2018) (citation omitted); see also Jarkesy, 144 S. Ct. at 2137. “The crucial question” in


                                                -19-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 28 of 39. PageID #: 192




examining the public-rights exception is whether Congress “has created a seemingly private right

that is so closely integrated into a public regulatory scheme as to be a matter appropriate for agency

resolution.” Granfinanciera, 492 U.S. at 54 (cleaned up). As Jarkesy explained, two overarching

types of claims fall within the public-rights exception: (1) matters that “historically could have

been determined exclusively by [the executive and legislative] branches” such as immigration,

foreign commerce, relations with Indian tribes, and matters involving public benefits, id. at 2132-

33 (citation omitted; alteration in original); and (2) claims that were “unknown to common law,”

id. at 2137 (citing Atlas Roofing Co., Inc. v. Occupational Safety & Health Rev. Comm’n, 430 U.S.

442, 461 (1977)). The claims here satisfy both categories.

       The claims involve public benefits. As the Court reaffirmed in Jarkesy, adjudications

involving “the granting of public benefits such as payments to veterans . . . pensions . . . and patent

rights,” fall under the public-rights exception. See Jarkesy, 144 S. Ct. at 2133. HUD’s Section 537

claims plainly arise from a program that provides public benefits—namely, multifamily FHA-

insured mortgages that ensure affordable housing for the public. Thus, HUD’s claims fall under

the public-rights exception.

       The fact that HUD’s claims concern the adjudication of claims related to public benefits is

dispositive of both the Article III and Seventh Amendment claims. See id. at 2132 (explaining that

in “matters [that] historically could have been determined exclusively by [the executive and

legislative] branches . . . . no involvement by an Article III court in the initial adjudication is

necessary” (second alteration in original; citation omitted)). But the Court could also hold that

HUD’s claims fall within the public-rights exception because they are unknown to common law.

       The claims are unknown to common law. In Atlas Roofing, the Court held that a civil-

penalty action brought under the Occupational Safety and Health Act (“OSH Act”) fell within the



                                                 -20-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 29 of 39. PageID #: 193




public-rights exception because by enacting the OSH Act, Congress sought to create a regulatory

regime that was “self-consciously novel” in “both concept and execution” as opposed to merely

“adjudicating claims that traced their ancestry to the common law.” Jarkesy, 144 S. Ct. at 2137

(summarizing Atlas Roofing, 430 U.S.).

       Section 537 is similarly self-consciously novel in both concept and execution. Section 537

was enacted as a part of the monumental regulatory regime established under the National Housing

Act, with the overarching mandate to create, funds, and regulate affordable housing. Under Section

537, HUD enforces compliance with the requirements for FHA-insured mortgages. These

mortgages on multifamily housing projects often provide more favorable terms than comparable

private loans to “encourage investments in higher-risk properties in underserved areas,” and in

doing so “help sustain profitability of various multifamily projects.” Getter at 10, supra at p.4.

       Importantly, underlying these benefits is the assumption that HUD can resort to

administrative enforcement when its business partners break their promises because that is the

exclusive method that Congress created for HUD to use in response to a regulatory violation.

HUD’s other enforcement tools, such as suspension and debarment, limited denial of participation,

program exclusion, or the False Claims Act do not provide a meaningful remedy in all cases

because they provide different penalties (debarment, suspension, treble damages) for different

conduct (e.g., criminal convictions, failure to pay debts, submission of false claims). And those

tools often require a greater investment of money, time, or both.

       Without the ability to seek administrative penalties, HUD’s programs would need to

function differently than Congress intended. For example, without recourse to administrative

penalty actions, HUD’s programs might have to become more risk averse as to the borrowers

insured or more aggressive as to day-to-day supervision of its partners because of the dearth of



                                                -21-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 30 of 39. PageID #: 194




meaningful post-violation remedies. See HUD Reform: Hearing before the Subcomm. on Hous. &

Cmty. Dev. of the H. Comm. on Banking, Fin. & Urb. Affs., 101st Cong. at 1-2, 107, 261 (1989)

(explaining that pre-Section 537, the principal remedies of debarment or declaring the mortgage

in default would result in HUD foreclosing on the property at a loss, paying an insurance claim to

the lender, and eventual “reduction in services to tenants”). In short, Section 537 was enacted in

response to a unique challenge that arose when the Government sought to regulate the conduct of

its business partners while minimizing the damage to the tenants (i.e. the ultimate beneficiaries of

the affordable housing programs). In this way, the regulatory regime here resembles the regulatory

regime created by the OSH Act in Atlas Roofing, in which Congress “intended the agency to

‘develop[ ] innovative methods, techniques, and approaches for dealing with occupational safety

and health problems.’” Jarkesy, 144 S. Ct. at 2137 (citation omitted).

       Against this backdrop, it becomes clear that HUD’s Section 537 claims involve a “public

right” as they are “integrally related to particular Federal Government action.” See Stern v.

Marshall, 564 U.S. 462, 490-91 (2011). Simply put, by creating the regulatory regime under the

National Housing Act and its subparts, such as Section 537, Congress created a “new cause of

action, and remedies therefor, unknown to the common law.” See Jarkesy, 144 S. Ct. at 2137

(citation omitted).

       By contrast, the cause of action in Jarkesy never depended on an administrative-

enforcement procedure. For decades, the Supreme Court emphasized, the SEC could bring civil

money penalty actions only in an Article III court. Id. at 2126. Even after a 2010 statute gave the

SEC the option to do so administratively, it retained the ability to go to federal court as well, id.,

suggesting that the administrative forum was not a fundamental part of the statutory scheme. As

the Court explained, “[t]he novel claims in Atlas Roofing had never been brought in an Article III



                                                -22-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 31 of 39. PageID #: 195




court,” while “Congress had authorized the SEC to bring [securities fraud] actions in Article III

courts and still authorizes the SEC to do so today.” Id. at 2139. Here, as in Atlas Roofing, HUD’s

civil money penalty actions have always been committed exclusively to administrative tribunals.

       Moreover, the nature of the relationship between HUD and Plaintiffs provides a critical

distinction from Jarkesy. In Jarkesy, the SEC exercised its power “to regulate transactions between

private individuals interacting in a pre-existing market.” Id. at 2136. Not so here. HUD does not

act as a regulator of private market participants; instead, the Government created the market.

Plaintiffs are willing participants in a consensual, mutually beneficial Government program. And

HUD is also the injured party, acting in its own name to redress its own injury and enforce its own

statutes and regulations. The injury, the cause of action, and the remedy are all integrally related

to a specific, self-consciously novel Government housing assistance program. Whereas in Jarkesy,

the SEC sought penalties against the respondents for defrauding investors, not the SEC, HUD acts

here to enforce its own rights as a mortgage insurer and provider of public benefits. At bottom,

HUD’s claims vindicate HUD’s rights, which are a product of the affordable housing regulatory

scheme established by the National Housing Act.

       In short, in enacting the National Housing Act and its building blocks, including Section

537, Congress did not seek “to enable the Federal Government to bring or adjudicate claims that

traced their ancestry to the common law.” Id. at 2137. Rather, it sought to create a “self-consciously

novel” regulatory regime for federally supported affordable housing, id., and properly assigned the

adjudication of claims arising out of this regulatory regime to HUD. The Court should hold that

HUD’s claims fall under the public-rights exception, and are therefore properly before OHA.

               b.      Under Jarkesy, the Seventh Amendment does not apply where, as here, the
                       suit is equitable.




                                                -23-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 32 of 39. PageID #: 196




       Even were the Court to conclude that HUD’s claims do not fall under the public-rights

exception, it should nevertheless hold that they are not subject to trial by a jury because they are

equitable under Jarkesy’s two prongs, which evaluate: (1) “the remedy” and (2) “the cause of

action.” Id. at 2129. Because some actions can “sound in both law and equity,” the remedy factor

is “‘more important.’” Id. (quoting Tull v. United States, 481 U.S. 412, 421 (1987)).10

                   1. The remedies provided by Section 537 are equitable.

       In Jarkesy, the Court explained that “monetary relief can be legal or equitable,” and “[w]hat

determines whether a monetary remedy is legal is if it is designed to punish or deter the wrongdoer,

or, on the other hand, solely to ‘restore the status quo.’” 144 S. Ct. at 2129 (quoting Tull, 481 U.S.

at 422). The Court then examined the relief provisions of the Securities Exchange Act (SEA) and

the Investment Advisers Act (IAA) and concluded that the civil penalties were legal in nature as

they were tied to the “need to punish the defendant rather than to restore the victim.” 144 S. Ct. at

2129. Plaintiffs argue that the civil penalties at issue here are like those at issue in Jarkesy, and

therefore “legal” in nature. Plaintiffs’ argument misses the mark.

       In reaching its conclusion in Jarkesy, the Court observed that several of the factors that

determined the civil penalty under the statutory provisions concern “culpability, deterrence, and

recidivism.” Id. Moreover, as the Court emphasized, both the SEA and the IAA “establish three

‘tiers’ of civil penalties,” which condition the civil penalty “on the culpability of the defendant and

the need for deterrence, not the size of the harm that must be remedied.” Id. at2129-30. The Court



10 Plaintiffs erroneously rely on Jarkesy to assert their Article III claim. But Jarkesy was solely a

Seventh Amendment case. See 144 S. Ct. at 2139–40 (Gorsuch, J., concurring) (“The Court
decides a single issue: Whether the Securities and Exchange Commission’s use of inhouse hearings
to seek civil penalties violates the Seventh Amendment right to a jury trial.”). Thus, Jarkesy lends
no support to Plaintiffs’ Article III claim. But in any event, as explained above, under the public-
rights exception, Congress properly assigned HUD’s claims to administrative adjudication without
usurping Article III powers. See supra I.B(ii)(a).
                                                 -24-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 33 of 39. PageID #: 197




noted, “the SEC is not obligated to return any money to victims.” Id. At bottom, the Court

concluded, the provisions are “designed to punish and deter, not to compensate.” Id. As such, the

Court ruled that the remedies were legal and implicated the Seventh Amendment. Id.

       By contrast, the factors for determining the civil penalty under Section 537 do not focus

solely on punishment and deterrence. See 12 U.S.C. § 1735f-15(d)(3) (statutory factors); 24 C.F.R.

§ 30.80 (corresponding regulatory factors). Section 537 considers factors such as the violator’s

“ability to pay the penalty” “injury to the public,” “injury to the tenants,” and “injury to the lot

owners.” see 24 C.F.R. § 30.80(c), (d), & (j), which indicate that the purpose of the civil penalty

under Section 537 is broader than those in Jarkesy. Cf. Jarkesy, 144 S. Ct. at 2130 (“Each tier

conditions the available penalty on the culpability of the defendant and the need for deterrence.”).

Indeed, here, “a single violation that causes serious injury to the public or the tenants,” can be

grounds for assessing a civil penalty, 24 C.F.R. § 30.45(e), whereas in Jarkesy, “showing that a

victim suffered harm [was] not even required to advance a defendant from one tier to the next.”

144 S. Ct. at 2130.

       In sum, contrary to Plaintiffs’ argument, the civil penalties at issue here are distinguishable

from the “legal” remedies in Jarkesy.

                      2. Causes of action under Section 573 are not found in common law.

       The second prong of Jarkesy also illustrates that HUD’s claims are equitable because they

“are [not] analogous to common-law causes of action ordinarily decided in English law courts in

the late 18th century.” Granfinanciera, 492 U.S. at 42.

       This prong examines the “relationship between the causes of action in this case and

common law.” Jarkesy, 144 S. Ct. at 2130. In doing so, the Court must “compare the statutory

action to 18th-century actions brought in the courts of England prior to the merger of the courts of



                                                -25-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 34 of 39. PageID #: 198




law and equity.” Tull, 481 U.S. at 417–18. There is simply no 18th Century common law analogue

to HUD’s claims against Plaintiffs under Section 537. At bottom, HUD’s claims arise out of unique

statutory causes of actions enacted by Congress to supervise the conduct of Government’s business

partners in the Government-created area of affordable housing. Needless to say, this regulatory

scheme—let alone claims arising out of it—did not exist in the 18th Century.

       Plaintiffs, in an attempt to satisfy prong two, argue that HUD’s claims are nothing more

than run-of-the-mill breach of contract claims. Plaintiffs’ analogy is misguided. HUD’s claims

principally arise out statutory and regulatory prohibitions on unauthorized use of funds. See 12

U.S.C. § 1735f-15(c)(1)(B)(ii); 24 C.F.R. § 30.45(c). The mere fact that these requirements also

appear in Plaintiffs’ Regulatory Agreements does not convert HUD’s statutory and regulatory

claims into contract claims.11

       Plaintiffs’ other attempts at analogizing HUD’s claims to other broad categories of claims

such as fraud, trespass, and action in debt also fail. At bottom, HUD’s claims do not carry “old

soil” from any such common-law claims. Jarkesy, 144 S. Ct. at 2130 (citation omitted); cf. id.

(explaining that in enacting the SEA and the IAA, Congress “incorporated prohibitions from

common law fraud,” and its “decision to draw upon common law fraud created an enduring link

between federal securities fraud and its common law ancestor”) (citation omitted)). In enacting

Section 537, Congress did not borrow from any common law form of fraud, trespass, and action

in debt that targeted “the same basic conduct,” id.—because none did. Rather, Congress created a




11
  While HUD’s administrative complaints mention that Plaintiffs’ violations of the statutory and
regulatory prohibition against the unauthorized distribution of funds also violate particular
provisions of the Regulatory Agreements, Plaintiffs’ liability for civil money penalties hinges on
the statutory and regulatory violations as outlined in 12 U.S.C. § 1735f-15(c)(1)(B)(ii) and 24
C.F.R. § 30.45(c).
                                              -26-
      Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 35 of 39. PageID #: 199




new regulatory scheme for affordable housing, which gave rise to new rights, causes of actions,

and remedies that were “unknown to the common law.” Id. at 2137 (citation omitted).

II.       PLAINTIFFS FAIL TO DEMONSTRATE IRREPARABLE HARM.

          Even if the Court reaches the issue of irreparable harm, it should deny the injunction

because Plaintiffs fail to establish the type of imminent, irreparable harm needed to justify a

preliminary injunction. “[E]ven the strongest showing on the other three factors cannot ‘eliminate

the irreparable harm requirement.’” See D.T. v. Sumner Cnty. Schs., 942 F.3d 324, 326–27 (6th

Cir. 2019) (quoting Friendship Materials, Inc. v. Mich. Brick, Inc., 679 F.2d 100, 105 (6th Cir.

1982)).

          As an initial matter, Plaintiffs’ own delay in filing for injunctive relief weighs against

finding irreparable harm. See Huron Mountain Club v. U.S. Army Corps of Eng’rs, 545 F. App’x

390, 397 (6th Cir. 2013) (finding district court did not err in considering delay as a factor weighing

against injunction). Plaintiffs waited until November 27, 2024, to file their motion for a

preliminary injunction—nearly seventh months after the ALJ consolidated all the administrative

complaints, and five months after the Supreme Court’s decision in Jarkesy. Such “an unreasonable

delay in filing for injunctive relief . . . weigh[s] against a finding of irreparable harm.” Allied

Erecting & Dismantling Co. v. Genesis Equip. & Mfg., Inc., 511 F. App’x 398, 405 (6th Cir. 2013).

          Moreover, Plaintiffs fail to identify any irreparable harm. Plaintiffs’ entire irreparable-

harm argument assumes success on the merits. See Pls. Br. 15-16. As explained above, however,

Plaintiffs are unlikely to prevail on the merits, and thus, even on their own theory, they fail to even

suggest any irreparable harm.

          But even if the Court disagrees with the Government on the merits, it should nevertheless

conclude that Plaintiffs fail to identify any irreparable harm. Not every constitutional claim



                                                 -27-
       Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 36 of 39. PageID #: 200




presents an irreparable harm. See Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748,

753 (10th Cir. 2024). Plaintiffs, relying on Axon, 598 U.S. 175, argue that the ongoing OHA

proceedings constitute a “here and now” injury. Pls. Br. 16. This Court should follow the Tenth

Circuit’s recent, persuasive decision in Leachco, and reject this overly expansive reading of Axon.

Leachco held that “Supreme Court precedent supports a narrow application of Axon’s ‘here-and-

now injury’ language.”103 F.4th at 759. Axon concerned whether the district court had jurisdiction;

it was not about what a plaintiff must show to obtain relief. Id. Furthermore, Axon’s “here and now

injury” language came from Seila Law’s discussion of standing, which similarly did not address

entitlement to relief. Id. (citing Seila Law, LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 212

(2020)). Thus, Axon does not support a finding of irreparable harm here.

        Plaintiffs have failed to provide any caselaw for the proposition that the ongoing

administrative proceeding constitute irreparable harm—nor could they. Any harm to Plaintiffs as

a result of the proceedings before OHA is reparable. Even if Plaintiffs receive a favorable ruling

from any court after an adverse administrative ruling, that court could vacate OHA’s grant of any

legal remedies. As such, any alleged denial of a trial before a jury or adjudication in an Article III

court could be readily remedied in due course. Notably, Plaintiffs do not—and, in fact, cannot—

rely on litigation expenses they will incur during the course of this judicial proceeding or the

administrative proceeding as irreparable harm. See Renegotiation Bd. v. Bannercraft Clothing Co.,

415 U.S. 1, 24 (1974) (“Mere litigation expense, even substantial and unrecoupable cost, does not

constitute irreparable injury.”).

        Because Plaintiffs have failed to show irreparable harm, the Court should deny their request

for a preliminary injunction on that ground alone. See D.T., 942 F.3d at 326–27.

III.    THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH AGAINST INJUNCTIVE
        RELIEF.

                                                -28-
     Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 37 of 39. PageID #: 201




       Although the balance of the equities and the public interest typically are considered as

separate factors, “[t]hese factors merge when the Government is the opposing party.” Nken v.

Holder, 556 U.S. 418, 435 (2009). Here, these combined factors strongly counsel against an

injunction. The provisions at issue here entrust HUD to ensure the proper use of FHA-insured

mortgages. See 12 U.S.C. § 1735f-15(c)(1)(B)(ii); 24 C.F.R. § 30.45(c). In doing so, not only do

they protect government funds, but they further advance the overarching and compelling

Government interest in providing “a decent home and a suitable living environment for every

American family.” 12 U.S.C. § 1701t.

       Through the current administrative proceeding, HUD is carrying out its duties under

Section 537 to protect government funds and promote affordable housing. If the Government “is

enjoined by a court from effectuating statutes enacted by representatives of its people, it suffers a

form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers) (citation omitted). This is particularly true here, where the proceedings at issue are part

of a longstanding structure in effect in agencies throughout the federal government. See Miranda

v. Garland, 34 F.4th 338, 366 (4th Cir. 2022) (vacating injunction that would cause a “sea change”

in federal immigration hearings). Moreover, halting the administrative proceedings during the

pendency of the present action would raise the likelihood that, in the interim, “records have been

destroyed, witnesses have gone elsewhere, and recollections of the events in question have become

dim and confused.” Loc. Lodge No. 1424 v. NLRB, 362 U.S. 411, 419 (1960) (citation omitted).

On the other side of the balance, Plaintiffs have failed to identify any irreparable harm warranting

an injunction. As such, the balance of the equities and public interest weigh against granting

Plaintiffs’ motion.




                                                -29-
    Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 38 of 39. PageID #: 202




                                       CONCLUSION

       For the reasons explained above, the Court should deny Plaintiffs’ motion.


Dated: January 8, 2025                           Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 CHRISTOPHER R. HALL
                                                 Assistant Branch Director

                                                 /s/ Pardis Gheibi
                                                 PARDIS GHEIBI (D.C. Bar No. 90004767)
                                                 Trial Attorney; U.S. Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 1100 L Street, N.W.
                                                 Washington, D.C. 20005
                                                 Tel.: (202) 305-3246
                                                 Email: pardis.gheibi@usdoj.gov
                                                 Counsel for Defendants




                                             -30-
    Case: 1:24-cv-02084-BMB Doc #: 9 Filed: 01/08/25 39 of 39. PageID #: 203




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2025, I electronically filed this document with the

Court by using the CM/ECF system, and that this document was distributed via the Court’s

CM/ECF system.



                                             /s/ Pardis Gheibi




                                               -31-
